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                             EXHIBIT 14
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 Desert Colors Lagoon
 Due                                                                     Open Records Portal Request
 Submitted    6/26/2020, 13:51
 Received


 Requestor                                            Agency
 Matt McDonald                                        Southwest Utah Public Health
 mdm@wsourcegroup.com                                620 South 400 East #400
                (850)528-3947                        St. George, UT 84770
 2282 Killearn Center Blvd                           Ashley Hedstrom
 Tallahassee, Flori 32309                            Cameron Mitchell




 Main Request

 Please provide all records and/or permits related to any and all lagoons (whether for
 recreation, swimming, or other uses), public pools, or public bathing places related to
 the Desert Colors development in St. George, Utah.

 Please provide all permits applied for or issued to Clyde Companies, including but not
 limited to, any permits for public swimming pools, public bathing places, and/or lagoons.

 Please provide all permits applied for or issued to Blue Diamond Capital project,
 including but not limited to, any permits for public swimming pools, public bathing
 places, and/or lagoons.

 Please provide all permits applied for or issued to Merrill Trust Group project,
 including but not limited to, any permits for public swimming pools, public bathing
 places, and/or lagoons.

 Please provide all correspondence between the Southwest Utah Public Health Department
 (SWUPHD), including the local office for Washington County, and Clyde Companies, Blue
 Diamond Capital, Merrill Trust Group, or any other known entity related to the Desert
 Color development in St. George, Utah.

 Please provide any permits issued by the Southwest Utah Public Health Department
 (SWUPHD), including the local office for Washington County, related to the Desert Color
 development project in St. George Utah.

 Please provide any authorizations, whether written or verbal, provide by Southwest Utah
 Public Health Department (SWUPHD), including the local office for Washington County,
 related to the Desert Color development project in St. George, Utah.

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Open Records Portal Request                                 Southwest Utah Public Health Department (Utah)




 Date range of requested records:      1/1/2017 - 6/26/2020




 Additional Details

 Requester would like to view or inspect the records only




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